                                         Entered on Docket
                                         November 06, 2020
                                         EDWARD J. EMMONS, CLERK
                                         U.S. BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF CALIFORNIA


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 2                                    The following constitutes the order of the Court.
                                      Signed: November 6, 2020
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                                             ___________________________________________
 6                                           William J. Lafferty, III
                                             U.S. Bankruptcy Judge
 7
 8                          UNITED STATES BANKRUPTCY COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
10                                 SANTA ROSA DIVISION
11
12   In re                              )             Case No. 20-10400 WJL
                                        )
13   Ehlana Kirkpatrick                 )
                                        )             Chapter 7
14                                      )
                      Debtor.           )
15                                      )
                                        )
16                                      )
17   MEMORANDUM REGARDING RECENTLY FILED REAFFIRMATION AGREEMENT BETWEEN
18                   DEBTOR AND COASTAL CENTRAL CREDIT UNION
19        On July 13, 2020, Debtor filed a Chapter 7 Voluntary Petition
20   for Individuals (Dkt. 1), initiating the above-captioned case. On
21   October 21, 2020, the Court entered an Order Discharging Debtor and
22   Final Decree (Dkt. 9), and on October 22, 2020 the case was closed.
23        On November 3, 2020, Creditor Coastal Central Credit Union
24   filed a Reaffirmation Agreement Between Debtor and Coastal Central
25   Credit Union (the “Reaffirmation”) (Dkt. 11) regarding a 2017 Dodge
26   Ram 1500.
27        11 U.S.C. § 524(c)(1) makes clear that a reaffirmation
28   agreement, such as the Reaffirmation described above, is only



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 1   enforceable if the agreement was made prior to entry of the
 2   Debtor’s discharge, and FRBP 4008(a) mandates that a “reaffirmation
 3   agreement shall be filed no later than 60 days after the first date
 4   set for the meeting of creditors under §341(a) of the [Bankruptcy]
 5   Code.”
 6        Creditor signed the Reaffirmation on October 21, 2020, the day
 7   the Debtor’s discharge was entered. Creditor further did not timely
 8   file the Reaffirmation with the Court, since the last day to file a
 9   reaffirmation agreement pursuant to FRBP 4008(a) was October 20,
10   2020.
11        Accordingly, the Reaffirmation is not enforceable, and the
12   Court shall not take any action regarding the Reaffirmation.
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14                                 *END OF MEMORANDUM*
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 1                                  COURT SERVICE LIST
 2   Coast Central Credit Union
     2650 Harrison Ave.
 3   Eureka, CA 95501-9947
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